                             Case 3:21-cr-00053-DB Document 4 Filed 12/18/20 Page 1 of 1




                                               UNITED STATES DISTRICT COURT
                                                                                 for   the
                                                                   Western District of Texas


                         Unikd State.      or America
                                    v.
                              Michael Reyes                                                   Case No.     ~p: ZO-fI\ ..3~/~'-~



                                                                 ARREST WARRANT
To:          Any authorized law enforcement ofTicer

             YOU ARE COMMANDED                       to arrest and bring before a United States magistrate judge without unnecessary delay
(lI"me ofr'"rson     10 be IlrresledJ       Michael Reyes
                                                              ----------------------------------------------------------
who is acclIsed of an offense or violation based on the following document filed with the court:

o     Indictment                o       Superseding Indictment        o   Information             o   Superseding Information              d Complaint
o     Probation Violation Petition                   o   Supervised Release Violation Petition                o Violation     Notice       0 Order of the Court

This offense is briefly described as follows:
     Michael Reyes, on or about December 12-14, 2020, transmitted                        in intsterstate   or foreign commerce,        threatening
     communications, in violation of Title 18 U.S.C. Section 875 (c).




Date:              12/18/2020                                                           AhLd. ~.               Issuing of)icer'S sigllatllre


                            EI Paso, Texas                                                            U.S. Magistrate      Judge Miguel Torres
City and state:
                                                                                                                 Printed name and lil/e



                                                                             Return

             This warrant was received on            (dale)
                                                               \ L.//<?/1J)?"o           , and the person    was arrested on      (date)       1'1.-/} <'6/?.. 0'10
at   (cily ulld stale)          i?\       eGA.-~CJ   IX
Dale:      t~/lVW'LO                                                                                ~'''jg"",,,~
